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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 CHARLOTTE CHARLES, et al.,


                     Plaintiffs,

         v.
                                                      Civil Action No. 20-1052-TSE
 ANNE SACOOLAS and JONATHAN
 SACOOLAS,

                     Defendants.


  UNITED STATES’ MOTION FOR LEAVE TO FILE MOTION FOR PROTECTIVE
       ORDER AND SUPPORTING EX PARTE, IN CAMERA SUBMISSION

       Pursuant to 28 U.S.C. § 517, the United States, through undersigned counsel, hereby

respectfully moves for leave to file two sets of papers with the Court: (1) a Statement of Interest

and motion for protective order on the public docket, attached hereto as Exhibits A and B, and (2)

a classified supplemental submission, submitted ex parte and in camera, in support of the motion

for protective order. The grounds for this motion are set forth below. Undersigned counsel has

conferred with counsel for the parties regarding the relief sought in this motion; Defendants

consent and Plaintiffs oppose.

       1.      28 U.S.C. § 517 provides that an officer of the Department of Justice “may be sent

by the Attorney General to any State or district in the United States to attend to the interests of the

United States in a suit pending in a court of the United States . . . or to attend to any other interest

of the United States.” In light of this statutory authority, the United States may seek relief,

including entry of a protective order, as a third party through a Statement of Interest. See Hall v.

Clinton, 285 F.3d 74, 80 (D.C. Cir. 2002) (section 517 “plainly confers upon the Attorney General

broad discretion in his decision to dispatch government lawyers to attend to any . . . interest of the
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United States” (citation omitted)). And the United States’ interests implicated by the underlying

motion for protective order are amply supported. Specifically, although the United States takes no

position on the ultimate disposition of this private lawsuit, it has a substantial interest in certain

limited information at risk of disclosure in further proceedings in this litigation because of the

effect disclosure of such information may reasonably be anticipated to have on the national security

of the United States. To ensure the protection of that interest, the United States may seek relief

before this Court pursuant to section 517 and, accordingly, the Court should grant leave to file

Exhibits A and B to this motion on the docket.1

       2.      It is also permissible for the United States to support its motion for protective order

with an ex parte, in camera submission. The Government’s contemplated ex parte filing contains

classified national security information. Separation of powers principles, statutory authority, and

the public interest all heavily favor the nondisclosure of such national security information. See,

e.g., Dep’t of Navy v. Egan, 484 U.S. 518, 527–30 (1988) (recognizing the Government’s

“compelling interest in withholding national security information from unauthorized persons” and

stating that the “authority to protect such information falls on the President as head of the Executive

Branch and as Commander in Chief”). Unauthorized disclosure of such information is contrary to

the public interest where, by definition, such disclosure would damage the national security of the

United States. See Exec. Order 13,526 § 1.2(a), 75 Fed. Reg. 707, 707–08 (Jan. 5, 2010).

       Given that background, numerous courts have accepted classified materials for ex parte, in

camera review. See, e.g., Jifry v. FAA, 370 F.3d 1174, 1182 (D.C. Cir. 2004) (“[T]he court has



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  The filing of a Statement of Interest does not constitute formal intervention as a party to a civil
action. For the reasons discussed above, the United States may seek relief, including entry of a
protective order, as a third party through a Statement of Interest. However, if the Court determines
that formal intervention under Fed. R. Civ. P. 24 is necessary, the United States would move to
intervene as of right to protect its interests.


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inherent authority to review classified material ex parte, in camera as part of its judicial review

function.”); Tabbaa v. Chertoff, 509 F.3d 89, 93 n.1 (2d Cir. 2007) (reviewing ex parte and in

camera classified information pertaining to the reasons for border inspection); Bassiouni v. FBI,

436 F.3d 712, 722 n.7 (7th Cir. 2006) (conducting ex parte, in camera review of classified FBI

declaration); Holy Land Found. for Relief & Dev. v. Ashcroft, 333 F.3d 156, 164 (D.C. Cir. 2003)

(holding that the Due Process Clause does not prohibit designation for sanctions on the basis of

classified information submitted only for ex parte and in camera review) (citing People’s

Mojahedin Organization of Iran v. Dep’t of State, 327 F.3d 1238, 1242 (D.C. Cir. 2003)); Global

Relief Found., Inc. v. O’Neill, 315 F.3d 748, 754 (7th Cir. 2002) (same).

       Should the Court accept filing of the Government’s classified submission ex parte, in

camera, the Government anticipates lodging it with the Department of Justice’s Classified

Information Security Officer, who will make it available to the Court for review at its convenience.

       3.      For the foregoing reasons, this Court should grant the United States leave to file a

Statement of Interest and accompanying motion for a protective order, and to lodge a

supplemental submission with the Classified Information Security Officer for ex parte, in

camera review.

       4.      A proposed order has been attached for the convenience of this Court.

Dated: July 23, 2021                                 Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General
                                                     Civil Division

                                                     RAJ PAREKH
                                                     Acting United States Attorney

                                                     ALEXANDER K. HAAS
                                                     Director, Federal Programs Branch




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                                          ANTHONY J. COPPOLINO
                                          Deputy Director, Federal Programs Branch

                                          JAMES R. POWERS
                                          Trial Attorney
                                          Civil Division, Federal Programs Branch
                                          United States Department of Justice
                                          1100 L Street, NW
                                          Washington, DC 20005
                                          Tel: (202) 353-0543
                                          Email: james.r.powers@usdoj.gov

                                           /s/
                                          DENNIS C. BARGHAAN, JR.
                                          Acting Chief, Civil Division
                                          Assistant United States Attorney
                                          2100 Jamieson Ave.
                                          Alexandria, Virginia 22314
                                          Tel: (703) 299-3891
                                          Fax: (703) 299-3983
                                          Email: dennis.barghaan@usdoj.gov

                                          ATTORNEYS FOR THE UNITED STATES




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